Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 1 of 36 PageID 15518




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 BRENDAN HANEY, GERALD REED, and
 TROY SMITH, individually and on behalf
 of all others similarly situated,

        Plaintiffs,
 v.                                        Case No.: 3:18-cv-1011-J-32JRK

 COSTA DEL MAR, INC.,
 a Florida corporation,

     Defendant.
 ____________________________/

  PLAINTIFFS’ RESPONSE TO THE OBJECTIONS FILED BY JOHN W.
    DAVIS, MITCHELL GEORGE MIORELLI, AND AUSTIN VALLS
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 2 of 36 PageID 15519




          Plaintiffs hereby respond to the Objections filed by John W. Davis, Mitchell

 George Miorelli, and Austin Valls (“Objectors”) (Docs. 112, 115, and 117 are

 collectively referred to herein as “Objections”) as follows:

     I.   The serial objectors are infamous for filing meritless objections
          for personal gain.

          The Objections were filed just before the deadline by serial objectors, who

 are among the most notorious and prolific “professional objectors” in the country.

 These individuals have made a practice of throwing a wrench into class action

 settlements and thereby delaying class member benefits, all in an effort to extort a

 payoff. By holding the settlement ransom and threatening a lengthy appeal if their

 demands are not met, these Objectors levy what is effectively a tax on class action

 settlements—a tax benefiting no one except counsel for the objectors.1                             The

 Objections (filed without a scintilla of credible evidence) and the attacks on the

 Parties, their counsel, and even this Court are unfounded and insulting. The

 Objections epitomize the practice of illegitimate and dilatory objections to class

 action settlements that led to the 2018 amendments to Rule 23(e)(5)(B). See Fed.

 R. Civ. P. 23 cmt. to subdiv. (e)(5)(B) 2018 amendment. The Objections are not




 1 Each of the law firms, and a partial list of the cases in which they have filed objections, are listed
 in the “Serial Objector Index” located at www.serialobjector.com. Serial objector John W. Davis
 is a lawyer, and is represented by serial objector Eric Alan Isaacson. Another objector is Mitchell
 George Miorelli, who is being represented by his brother, serial objecting lawyer Sam Miorelli.
 Also objecting is Austin Valls, who is represented by the Bandas Law Firm, an especially notorious
 firm that goes to great lengths in this case to distance itself—for good reason—from its founding
 partner, Christopher Bandas. (See Doc. 115 at 8) (explaining that Bandas represents Valls, but will
 not be counsel of record).
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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 3 of 36 PageID 15520




 asserted in good faith based on prevailing law.                 Instead, they constitute an

 eleventh-hour “potpourri” of objections, designed to allow counsel for the Objector

 to later apply to the Court for fees if the settlement is adjusted in any respect.

        Objector Austin Valls is represented by the Bandas Law Firm, aptly

 described as an enterprise created for the purpose of “extorting money through

 class action objections with no basis in the law.” See Complaint ¶ 1, Edelson PC v.

 Bandas Law Firm PC, No. 1:16-CV-11057 (N.D. Ill. Dec. 5, 2016), attached as

 Exhibit 1. The Bandas Law Firm has an especially dark and notorious history as

 counsel to serial objectors. Exhibit 1 to the Motion for Pro Hac Vice Admission of

 Attorney Clore (Doc. 120-1), barely mentioned in the Motion itself, fails to disclose

 the full history of wrongdoing that has led courts to deny pro hac vice admission

 to Clove and the Bandas Law Firm in other cases. See Letter Order at 2, Cole v.

 NIBCO, Inc., No. 3:13-cv-07871 (D.N.J. Apr. 5, 2019), attached as Exhibit 2

 (denying pro hac vice admission of Clore and stating “several courts around the

 country have expressed skepticism that Mr. Bandas’ objections to class settlements

 have been made in good faith”); Garber v. Office of the Comm’r of Baseball, No.

 12-CV-03704, 2017 WL 752183, at *6 (S.D.N.Y. Feb. 27, 2017) (“This Court joins

 the other courts throughout the country in finding that Bandas has orchestrated

 the filing of a frivolous objection in an attempt to throw a monkey wrench into the

 settlement process and to extort a pay-off.”).2 The egregious conduct is so extensive


 2 In Chambers v. Whirlpool Corp., the court overruled an objection filed by Bandas, expressly
 finding that he was a serial objector who was “well-known for routinely filing meritless objections
 to class action settlements for the improper purpose of extracting a fee rather than to benefit the
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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 4 of 36 PageID 15521




 that Bandas and his firm have been enjoined from appearing or participating in

 any class actions anywhere in the country except under specified, court-ordered

 conditions.3

        The Bandas firm’s appearance before this Court violates a federal injunction.

 In Edelson, PC v. Bandas Law Firm PC, the court found the Bandas firm “abuse[d]

 the nation’s courts by filing frivolous, last-minute objections on behalf of

 purported class members that seek nothing in the way of substantive changes to

 the terms of the proposed class settlement” and enjoined Bandas and his entire

 firm from seeking admission to practice in any state or federal court unless the

 Edelson injunction is attached to the pro hac vice motion. See No. 1:16-cv-11057,

 2019 WL 272812, at *1–2 (N.D. Ill. Jan. 17, 2019), attached as Exhibit 5. In clear

 violation of the injunction, Clore and West have failed to provide this Court with a

 copy of the injunction upon seeking pro hac vice admission in this case.




 Class.” 214 F. Supp. 3d 877, 890 (C.D. Cal. 2016), vacated in part on other grounds, 980 F.3d
 645. The Chambers court is not alone. See, e.g., Clark v. Gannett Co., Inc., 122 N.E.3d 376 (Ill.
 App. Ct. 2018) (describing in great detail Bandas’ “fraud on the court”); In re Cathode Ray Tube
 (CRT) Antitrust Litig., 281 F.R.D. 531, 533 (N.D. Cal. 2012) (“Bandas routinely represents
 objectors purporting to challenge class action settlements, and does not do so to effectuate
 changes to settlements, but does so for his own personal financial gain [and] has been excoriated
 by Courts for this conduct.”); In re Hydroxycut Mktg. & Sales Practices Litig., No. 09md2087,
 2013 WL 5275618, at *5 (S.D. Cal. Sept. 17, 2013) (holding that the objections filed by Bandas
 “were filed for the improper purpose of obtaining a cash settlement in exchange for withdrawing
 the objections”); Order Denying Objections to the Settlement and Fees and the Motion to
 Intervene and for Pro Hac Vice Admission at 2, Brown v. WalMart Stores, Inc., No. 01-L-85 (Ill.
 14th Cir. Ct. Oct. 29, 2009) (“Bandas is a professional objector who is improperly attempting to
 ‘hijack’ the settlement of this case from deserving class members and dedicated, hardworking
 counsel, solely to coerce ill-gotten, inappropriate and unspecified ‘legal fees.’”), attached as
 Exhibit 3.
 3 See Michael J. Bologna, Notorious ‘Serial Objector’ May Have Filed His Last Objection,

 Bloomberg Law (Mar. 12, 2019), attached as Exhibit 4.
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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 5 of 36 PageID 15522




       Further, the Edelson injunction enjoined Christopher Bandas from doing in

 the state of Illinois exactly what he is doing in this case—participating from the

 shadows and refraining from signing any documents while others act as

 figureheads. See id. (restraining Bandas from providing any advice or other service

 without obtaining admission or leave to appear pro hac vice); see also Clark, 122

 N.E.3d at 390–91 (rebuking Bandas for “call[ing] the shots” behind the scenes,

 while at the same time attempting to avoid responsibility by not signing pleadings

 or appearing in front of the court).

       Objector John Davis and his counsel, Eric Isaacson, are also serial objectors.

 See Muransky v. Godiva Chocolatier, Inc., No. 15-60716-CIV, 2016 WL 11601079,

 at *3 (S.D. Fla. Sept. 16, 2016) (“[T]he Plaintiff aptly characterizes . . . Mr. Isaacson

 and Mr. Davis as ‘professional objectors’ who threaten to delay resolution of class

 action cases unless they receive extra compensation.”). Davis, a lawyer, has filed

 his objection pro se, but has now hired Mr. Isaacson to represent him, as he has

 done on numerous other occasions. In his Declaration (Doc. 113), Davis omitted

 cases in which his game was exposed, such as a case in which the Northern District

 of Illinois ruled that, despite objecting to the settlement, he was not even a class

 member. See Notification of Docket Entry, Davenport v. Discover Fin. Servs., No.

 1:15-CV-06052 (N.D. Ill. Dec. 19, 2017), attached as Exhibit 6. In Davenport,

 Davis hired Isaacson, as he did here.




                                            4
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 6 of 36 PageID 15523




        Indeed, Davis and Isaacson routinely join forces in an effort to extract fees

 for themselves through serial objections.4 Not only do they team up disguised as

 legitimate objectors, they also enlist non-lawyers to pose as class members in

 support of their scheme. See, e.g., Request to Withdraw Objection, Chambers v.

 Whirlpool Corp., No. 8:11-cv-01733 (C.D. Cal. June 25, 2016), attached as Exhibit

 7. In Chambers, Davis and Isaacson appeared as counsel of record for Kara

 Bowes—who later withdrew her objection due to her lack of standing. See id. In

 another class action, Isaacson represented the same Kara Bowes—whose meritless

 objections were again rejected—and her daughter, Brooke Bowes—who lacked

 standing to object. See Melito v. American Eagle Outfitters, No. 14-CV-2440, 2017

 WL 3995619, at *14 (S.D.N.Y. Sept. 11, 2017).

        Miorelli, who filed 76 pages of objections in this case, is also a serial objector

 and has previously joined forces with Bandas, Isaacson, and Davis. See Chambers

 v. Whirlpool Corp., No. 8:11-cv-01733 (C.D. Cal.). In multiple cases, Miorelli’s

 settlement objections have been overruled and his character has likewise been the

 subject of unflattering court orders. See, e.g., Zepeda v. PayPal, Inc., No. C 10-

 2500, 2017 WL 1113293, at *9, *16, *22 (N.D. Cal. Mar. 24, 2017) (approving

 settlement, overruling Miorelli’s objections, and noting that he is “a professional

 objector”); see also Legg v. Lab. Corp. of Am., No. 14-61543-CIV, 2016 WL



 4This duo also teamed up in Muransky, referenced above and discussed in Davis’ Declaration
 (Doc. 113). There, Isaacson was the objecting class claimant and Davis served as his legal counsel.
 While they freely swap roles between objecting class member and objecting lawyer, the one
 constant is that they consistently file meritless objections.
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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 7 of 36 PageID 15524




 3944069, at *3 n.2 (S.D. Fla. Feb. 18, 2016) (noting that Miorelli, who had

 withdrawn his objection, was not a member of the class and therefore lacked

 standing to object).

        Indeed, the Northern District of Georgia previously exposed Miorelli and the

 other professional objectors’ scheme for what it really is—a shakedown disguised

 as an objection. See In re the Home Depot, Inc., Customer Data Sec. Breach Litig.,

 No. 1:14-md-02583, 2016 WL 6902351, at *4–5 (N.D. Ga. Aug. 23, 2016) (rejecting

 Miorelli’s “82-page objection” and noting that Miorelli is an objector of the

 “‘professional’ variety [whose] objections are typically made not for the benefit of

 the class, but solely to extract some sort of payment in exchange for dropping the[]

 objections”).

        The Home Depot court’s characterization of Miorelli’s tactics was well-

 founded, as Miorelli has previously attempted to extort a payoff from class counsel.

 See In re Target Corp. Customer Data Sec. Breach Litig., No. 14-2522, 2016 WL

 4942081, at *1 (D. Minn. Jan. 29, 2016) rev’d on other grounds, 847 F.3d 608 (8th

 Cir. 2017) (overruling objection and noting that Miorelli’s “appeal is frivolous,

 perhaps best evidenced by his offer to drop the appeal for more than two million

 dollars”). In Target, the district court found that Miorelli was not even a member

 of the class,5 but that did not stop him from objecting to the settlement and

 attempting to extort Class Counsel:



 5 In re: Target Corporation Customer Data Sec. Breach Litig., 2016 WL 4942081, at *1
 (“Objector Miorelli is not a class member, as this Court determined in the Order approving the
                                               6
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 8 of 36 PageID 15525




        I remain open to settling my objection, however today my terms would
        be monetary instead of the various low and no-cost changes which you
        would not even discuss with me in early November. . . . If class counsel
        and/or Target would rather pay me than risk I win, I think a good
        negotiating starting place would be a fraction of the almost $9.3
        million in combined costs Target faces [if Target had to re-notice the
        class] and the millions in attorney fee reductions I also proposed. . . .
        I think 25% is the appropriate fraction. But, I’m a reasonable man
        open to reasonable counteroffers or discussions.

 In re Carrier IQ, Inc., Consumer Privacy Litig., No. 12-MD-0233, 2016 WL

 4474366, at *5 n.5 (N.D. Cal. Aug. 25, 2016) (emphasis added) (overruling

 Miorelli’s objections and recounting his extortion attempt in Target). The Carrier

 IQ court noted that Miorelli’s previous behavior in cases such as Target raises

 “credibility issues.” See id. at *5.

  II.   Consistent with their well-earned reputation, the professional
        objectors have filed meritless Objections.

        Perhaps the best evidence of the outstanding results obtained by Class

 Counsel, and the sharpest rebuke of the Objections, are the Objectors’ own

 Declarations. Davis, a member of the Florida Purchase and Nationwide Warranty

 classes, paid $12.97 for his warranty repair (Doc. 113 ¶ 3), but according to his

 Declaration, he will receive vouchers totaling $20.99.6 This recovery provides a



 settlement.”). In Target, Miorelli appealed and the appeal was dismissed. See Miorelli v. Target
 Corp., No. 15-3915 (8th Cir. 2015).
 6 Objectors argue that the Product Vouchers have a “charm price,” typically ending in .99, which

 is a “classic marketing trick to induce a larger purchase.” (Doc. 117, Miorelli Obj. at 8). That is
 not accurate. The values of the Product Vouchers are the “estimated minimum” values of the
 Product Vouchers. As set forth in the Sternberg Declaration (Exhibit 11), now with the benefit of
 claims data, the minimum values of the Product Vouchers have increased. And the voucher
 amounts are subject to potential further increases—for instance, under the Settlement, any
 reduction in Class Counsel’s requested fee must inure to the benefit of the class. (Agreement, Doc.
 98-1 § X(A)). A reduction in Class Counsel’s fee would operate to increase the Product Voucher
 amounts, not provide cash distributions to Class Members as Objector Davis contends.
                                                 7
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 9 of 36 PageID 15526




 value to Davis over 150% greater than what he paid to Costa for his warranty claim.

 Davis also does not mention that, as a result of this litigation, Costa stopped

 charging consumers for the warranty repairs that gave rise to his claim—a

 significant benefit to consumers throughout the country, including class members.

 See Declaration of T.J. McMeniman ¶ 5, attached as Exhibit 8.

        Valls’ positon is even more illustrative. Because he is a resident of Texas,

 but for Class Counsel’s extraordinary efforts and this Settlement, he would

 otherwise have been entitled to nothing.7 Valls is a typical avid Costa customer in

 that he has purchased multiple sunglasses since 2014 (see Doc. 115-1 ¶¶ 3–5).

 According to his Declarations, Valls will receive five (5) stackable vouchers worth

 at least $100. Valls can choose from hundreds of high-quality Costa items, which

 he can obtain, and have delivered to his doorstep, free of charge. Similarly,

 according to his Declaration, Miorelli paid for multiple wear and tear repairs and

 will receive seven (7) vouchers worth over $127. His statement that he can only

 obtain a “child’s t-shirt, visor or mesh hat,” (Doc. 117 at 8), is demonstrably false.8



 7 Class Counsel filed a class action in Texas, but were advised by Judge Hoyt that class relief would
 be unavailable. See Order at 1, Burden v. Costa Del Mar, Inc., No. 4:17-CV-3504 (S.D. Tex. Mar.
 22, 2018), attached as Exhibit 9; see also (Second Supplemental Decl. of Peter Hargitai (Doc.
 131) ¶¶ 17-19) (describing Burden). Class Counsel spent, and lost, almost $140,000 fighting for
 Texas consumers to no avail. (Id.). Through the Settlement in this case, Class Counsel were able
 to secure relief for Texas consumers, including Valls. To the extent necessary, Plaintiffs request
 that the Court take judicial notice of the docket and filings in Burden. See Milano v. TD Bank
 USA, N.A., No. 3:18-CV-598-J-34JBT, 2019 WL 3802459, at *1 n.2 (M.D. Fla. Aug. 13, 2019).
 8 Objectors say that the Settlement is a result of “collusion.” E.g., (Doc. 117, Miorelli Obj. at 36).

 There is no evidence to support that accusation. All of the evidence is to the contrary. See (Decl.
 of Mediator, Terrence White, attached as Exhibit 10); (Hargitai Decl., Doc. 109-2 ¶ 5) (“[T]he
 negotiations were adversarial, non-collusive, and arms’ length.”). The provisions of the
 Settlement that Objectors contend are “red flags” are standard class-action settlement provisions,
 which were adopted for legitimate and useful purposes. See Waters v. Int’l Precious Metals Corp.,
                                                   8
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 10 of 36 PageID 15527




 III.    The settlement does not constitute a coupon settlement.

         Objectors’ primary argument is that, contrary to the Court’s prior ruling, the

  Product Vouchers issued by Costa are “coupons” under 28 U.S.C. § 1712. But their

  argument is meritless for numerous reasons. First, the Objectors’ cherry-picked

  definitions of “coupon” do not support Objectors’ position, and CAFA’s legislative

  history belies any suggestion that CAFA applies to this settlement. Second, the

  cases cited by Objectors are plainly distinguishable from the Settlement in this

  case. Case law in this Circuit and elsewhere supports a finding that the Product

  Vouchers are not coupons. The Product Vouchers entitle Class Members, without

  any exclusions or limitations, to recover hundreds of whole-good items on Costa’s

  webstore, without the necessity for class members to come out of pocket a dime

  and without the need for class members to visit any retail establishments in order

  to claim their free merchandise.9 This Court was abundantly correct when it ruled

  that the Settlement here is not a “coupon” settlement. (Order, Doc. 102 at 4 n.1).

     A. Objectors ignore the most relevant cases defining a “coupon”
        and CAFA’s legislative intent.

         Objectors suggest that the ordinary meaning of the word “coupon” is clear;

  that the Court cannot and should not look to legislative history; and that the

  definition of “coupon” includes vouchers for free merchandise delivered directly to


  190 F.3d 1291, 1293 (11th Cir. 1999) (stating that clear sailing provisions “are sometimes included
  in class action settlements so that defendants have a more definite idea of their total exposure”).
  9 Objectors take issue with the Product Vouchers because they may not entitle class members to

  receive free sunglasses. But this case was never about defective sunglasses; it was about improper
  warranty and repair charges. In any event, a significant percentage of the class will be entitled to
  multiple Product Vouchers which they can stack to redeem high-value Costa merchandise,
  including even sunglasses. (See Declaration of Amanda Sternberg ¶ 3, attached as Exhibit 11).
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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 11 of 36 PageID 15528




  class members like the Product Vouchers here. But, as numerous courts around

  the country have held, Objectors are wrong.

        Objectors claim that Merriam-Webster defines a coupon as “a form

  surrendered in order to obtain an article, service or accommodation,” but this

  definition is so broad that it would even include cash.            Moreover, Objectors

  completely gloss over the more salient definition in the very same dictionary: “a

  part of a printed advertisement to be cut off to use in order to obtain a discount on

  merchandise or service.” Merriam-Webster’s Collegiate Dictionary, “Coupon,”

  def. 2 (emphasis added). Contrary to the express intent of Congress, Objectors’

  definitions of “coupon” would include cash or any free items, regardless of the

  circumstances, and regardless of the value of those items in comparison to the

  value of the claims.

        Every circuit court to weigh in on this issue disagrees with Objectors. Courts

  uniformly state that CAFA is “not a model of draftmanship” and that district courts

  should look to the “statute’s purpose and legislative history” as a result of the

  ambiguity of the term “coupon.” Linneman v. Vita-Mix Corp., 970 F.3d 621, 625

  (6th Cir. 2020); In re HP Inkjet Printer Litig., 716 F.3d 1173, 1176 (9th Cir. 2013).10

        As explained in Plaintiffs’ prior briefing on this issue (Doc. 99), the

  legislative history is clear: Congress was concerned about class settlements “that



  10See also In re: Lumber Liquidators Chinese-Manufactured Flooring Prods. Mktg., Sales
  Practices & Prods. Liab. Litig., 952 F.3d 471, 488 (4th Cir. 2020); Galloway v. Kan. City
  Landsmen, LLC, 833 F.3d 969, 973 (8th Cir. 2016); Redman v. RadioShack Corp., 768 F.3d 622,
  633 (7th Cir. 2014).
                                              10
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 12 of 36 PageID 15529




  involve a discount —frequently a small one—on class members’ purchases from the

  settling defendant.” In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 950–

  51 (9th Cir. 2015). The Senate Judiciary Committee’s Report criticizes coupon

  settlements that “require class members to hand over more of their own money

  before they can take advantage of the coupon,” which is not the case if products are

  provided free of charge. Id. at 951 (emphasis added); see, e.g., In re Sw. Airlines

  Voucher Litig., 799 F.3d 701, 706 (7th Cir. 2015) (claimants were required to

  purchase an expensive airline ticket in order to redeem their free drink coupons);

  In re: Lumber Liquidators Chinese-Manufactured Flooring Prods. Mktg., Sales

  Practices & Prods. Liab. Litig., 952 F.3d 471, 488 (4th Cir. 2020) (consumers with

  defective flooring received a credit towards flooring supplies but would still need a

  new floor to take advantage of the credit). Here, Class members need not come

  out-of-pocket to use their vouchers. Class members can shop for hundreds of

  products without having to hand over any additional money to Costa. Moreover,

  because this action did not involve a claim that the sunglasses themselves were

  defective, no class members are left with a defective product.

     B. Case Law in the Eleventh Circuit and Elsewhere Shows that the
        Vouchers Are Not Coupons Under CAFA.

        The landscape of varied decisions interpreting 28 U.S.C. § 1712 makes one

  thing clear: whether class relief constitutes a “coupon” is a fact-specific inquiry.

  And the framework outlined by the Ninth Circuit’s decision in Online DVD is the

  most logical and well-reasoned framework to consider the facts. The framework

  requires district courts considering whether a settlement involves coupons to
                                           11
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 13 of 36 PageID 15530




  evaluate: (1) whether class members have to hand over more of their money before

  they can use a credit, (2) whether the credit is valid only for select products or

  services, and (3) how much flexibility the credit provides, including whether it

  expires and whether it is freely transferrable. In re Online DVD, 779 F.3d at 951.

         Objectors claim that the Online DVD analysis is the exception, not the rule.

  (Doc. 117, Miorelli Obj. at 14). That is not true. District courts within the Eleventh

  Circuit (and throughout the nation) have repeatedly followed the Online DVD

  rationale, holding that vouchers are not subject to CAFA’s coupon provision

  because vouchers do not require class members to come out-of-pocket.11 Even the

  Fourth Circuit in Lumber Liquidators applied the Online DVD factors:

         [P]ursuant to the Ninth Circuit’s three-factor model, the vouchers are
         “coupons.” Under the first factor thereof, class members will likely
         “have to hand over more of their own money” before they can take full
         advantage of the vouchers, which weighs in favor of applying CAFA’s
         “coupon” settlement provisions. See In re Easysaver Rewards Litig.,
         906 F.3d at 755 (internal quotation marks omitted). That is, in order
         to entirely replace their defective flooring, class members will be
         required to spend more money with Lumber Liquidators. Second, the
         Lumber Liquidators vouchers can be used only “to purchase items
         from a limited universe of products,” such as flooring and flooring
         tools. See In re Easysaver Rewards Litig., 906 F.3d at 757. . . . Third,
         these vouchers have somewhat limited flexibility.12

  In re: Lumber Liquidators, 952 F.3d at 490–91. In fact, the only Circuit that did

  not apply the Online DVD factors is the Seventh Circuit in Southwest. But, Online

  11 See Supplement to Motion for Preliminary Approval (Doc. 99; Supplement) (collecting cases).
  In the interest of brevity, Class Counsel has made an effort to not re-hash points previously set
  forth in its Supplement. To the extent necessary, the Supplement is incorporated by reference.
  12 The credits in Lumber Liquidators were transferrable for 30 days, and only to family members

  or to a charity. Id. at 491.

                                                 12
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 14 of 36 PageID 15531




  DVD and Southwest were decided mere months apart and, regardless, Southwest

  is plainly a coupon settlement and fails the Online DVD factors—the settlement

  there provided for free drink vouchers, which required class members to purchase

  a plane ticket from the defendant in order to use the vouchers.

        Then, Objectors claim that Plaintiffs’ Class Counsel ignored the Ninth

  Circuit’s decision in In re Easysaver Rewards Litig., 906 F.3d 747 (9th Cir. 2018),

  and suggest that it somehow modified the framework set forth in Online DVD. But

  the opposite is true: Easysaver supports a finding that the credits in this case are

  not “coupons.” First, Easysaver reaffirmed the Online DVD factors that guide the

  “coupon” inquiry.    Id. at 755–56.    In Easysaver, plaintiffs claimed that the

  defendants, online vendors of flowers, chocolates, and fruit baskets, enrolled

  customers in, and billed them for, a monthly membership rewards program

  without their consent. The settlement provided for a $20 credit that could be used

  to order Defendants’ products. Id. at 753. However, the Court found that the

  settlement failed the Online DVD factors because: (i) nothing could be ordered and

  shipped from Defendants for $20; that is, class members would have to hand over

  more money to take advantage of the credits; (ii) the credits were only available

  for 15-25 products, none of which could be obtained for free; and (iii) the credits

  were not stackable, could not be combined with other promotions, could not be

  used when they have any real value (“in the lead-up to Christmas, Valentine’s Day

  or Mother’s Day” or “same day orders”), and expired in one year. Id. at 756–57.

  Moreover, not only did class members have to purchase something from

                                          13
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 15 of 36 PageID 15532




  Defendants to use the credits, but “to do so they must hand over their billing

  information again to the very company that they believe mishandled that

  information in the first place, at the very least to pay for shipping.” Id. at 757.

          This settlement is remarkably different from Southwest, Easysaver, and

  Lumber Liquidators. Here, class members do not have to pay a penny in order to

  choose from a selection of hundreds of products,13 which are shipped directly to

  class members free of charge. The credits are stackable, freely transferrable, can

  be used with any other Costa promotions, and are subject to no blackouts

  whatsoever. In short, they may be used like cash to purchase any Costa products

  online, without restriction. The credits expire after two years (which is longer than

  the validity of a check, and twice the validity period offered in Easysaver).14 And

  Costa consumers—a significant percentage of whom are repeat purchasers

  (including Objectors)—still have perfectly functioning sunglasses.

          The Objectors cite a number of cases (see Doc. 112 at 9 n.6; Doc. 115 at 15),

  but these cases are distinguishable and fully consistent with this Court’s prior



  13 This Settlement is worlds apart from the golf ball case cited by Objectors. See S. REP. No. 109-
  14, at 18 (2005), as reprinted in 2005 U.S.C.C.A.N. 3, 18. According to the Senate Report, a
  manufacturer falsely promised consumers free golf gloves if they purchased a dozen golf balls, but
  the customers instead received three free golf balls. Class members were unhappy with the receipt
  of golf balls (instead of a golf glove), but the settlement merely provided customers with more golf
  balls. There, the receipt of golf balls gave rise to the litigation in the first place, so the “relief” being
  made available had little to no value to class members. Moreover, class members had no option
  with respect to what they would receive as compensation—it was only the golf balls that
  precipitated the litigation. This case is vastly different—it was precipitated by excessive
  repair/warranty fees; not the credits now being made available to Class Members to choose from
  hundreds of items of free merchandise, which have real value to class members.
  14 This Settlement was negotiated in the midst of the COVID-19 pandemic, and was designed to

  allow Costa consumers to shop from the safety of their homes and have their products delivered
  free of charge without visiting retailers.
                                                       14
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 16 of 36 PageID 15533




  determination that the Product Vouchers here are not coupons. See In re HP

  Inkjet Printer Litig., 716 F.3d 1173, 1176 (9th Cir. 2013) (non-transferrable, non-

  stackable $2 to $6 e-credits that expired in 6 months required class members to

  come out-of-pocket since no items were available through HP for $6 or less); Sw.

  Airlines Voucher Litig., 799 F.3d 701, 706 (7th Cir. 2015) (in-flight drink coupons

  were deemed coupons because class members would have to purchase an airline

  ticket from Southwest Airlines to redeem their coupon); Hofmann v. Dutch LLC,

  317 F.R.D. 566, 575 (S.D. Cal. 2016) ($20 jean gift cards for jeans costing $205

  were coupons); Dardarian v. OfficeMax N. Am., Inc., No. 11-cv-00947, 2014 WL

  7463317 (N.D. Cal. Dec. 30, 2014) ($5 OfficeMax vouchers were deemed coupons

  where two thirds of OfficeMax’s merchandise could not be purchased for $5 or less,

  the coupons expired in 2-3 months, were usable only in California, and could not

  be combined with any other coupons or discounts); Davis v. Cole Haan, Inc., No.

  C 11-01826 JSW, 2013 WL 5718452, at *3 (N.D. Cal. Oct. 21, 2013) (a 30% off

  coupon for Cole Hann products was deemed a “coupon” where it expired in 6

  months, could only be redeemed in CA, could not be combined with other coupons,

  and the customer had to pay sales tax); True v. Am. Honda Motor Co., 749 F. Supp.

  2d 1052 (C.D. Cal. 2010) (a $500 or $1,000 rebate to class members who

  purchased another Honda or Acura was deemed a coupon); Fleury v. Richemont

  N. Am., Inc., No. C-05-4525 EMC, 2008 WL 3287154, at *2 (N.D. Cal. Aug. 6,

  2008) (a $100 coupon for Cartier products where most Cartier products cost



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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 17 of 36 PageID 15534




  significantly more than $100 would thus “be employed as a discount to purchase

  items exceeding the value of the credit.”).15

         In sum, the cases cited by the Objectors simply reiterate that a coupon offers

  a discount on the purchase price while a voucher does not require a class member

  to spend their own money. See Parsons v. Brighthouse Networks, LLC, No. 2:09-

  CV-267-AKK, 2015 WL 13629647, at *7 (N.D. Ala. Feb. 5, 2015) (“Here, the account

  credits offered by BHN are not discounts off the purchase of services; they are

  essentially the equivalent of cash that can be spent to purchase new services

  outright, without spending any of the customers’ own money.”).16

  IV.    Because this is not a “coupon” settlement, attorneys’ fees must
         be based on a percentage of the benefits obtained for the class.

         The Settlement here is a “common fund” settlement. In re Home Depot Inc.,

  931 F.3d 1065, 1079 (11th Cir. 2019) (“A common-fund case is when ‘a lawyer who

  recovers a common fund for the benefit of persons other than himself or his client



  15As Plaintiffs’ Class Counsel previously acknowledged, the Redman court was highly cynical of
  any class settlement providing non-pecuniary benefits. (See Doc. 99); Redman v. RadioShack
  Corp., 768 F.3d 622, 635 (7th Cir. 2014). The Redman decision is an outlier and is inconsistent
  with CAFA’s legislative history, which makes clear that Congress was only concerned with
  instances in which class members receive “essentially valueless coupons.” See S. REP. 109-14 at
  30 (2005), as reprinted in 2005 U.S.C.C.A.N. 3, 29–30. Congress recognized that consumers
  benefit from receiving free products. See id. at 31 (“The Committee wishes to make clear that it
  does not intend to forbid all non-cash settlements. Such settlements may be appropriate where
  they provide real benefits to consumer class members.").
  16 Contrary to Objectors’ arguments, there is nothing improper or “unethical” about what

  Objectors dub the so-called “blow-provision” if the Court determines that this is a coupon
  settlement. First, the Court has already held that this is not a coupon settlement, so Objectors’
  argument is a red herring. (See Doc. 102). Second, the Eleventh Circuit has expressly
  acknowledged “blow provisions” in class settlements and has never once indicated that they are
  unenforceable or unethical. See In re HealthSouth Corp. Sec. Litig., 334 F. App’x 248, 250 (11th
  Cir. 2009). Regardless, to avoid unnecessary delay, Class Counsel and counsel for Costa have
  agreed to, and do hereby, strike that provision from the Settlement.
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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 18 of 36 PageID 15535




  is entitled to a reasonable attorney’s fee from the fund as a whole.’ . . . This is

  typical in class actions, where the class might receive a large payout, from which

  the attorney derives his fees.”).17 In addition to other substantial benefits, the

  Settlement creates a $40,000,000 “fund,” which will be used to pay: claims of class

  members; attorneys’ fees, costs, and expenses; incentive awards; costs of class

  administration and notice; and, if due to be paid, the cy pres payment. (Agreement,

  Doc. 98-1 §§ II(A)(36), IV(A)). The Settlement calculates attorneys’ fees as a

  percentage of this fund, and the fees come from the fund itself. A key fact is that,

  under the Settlement, any reduction in Class Counsel’s fee request inures to the

  benefit of the class, meaning that the class and Class Counsel share the same pool

  of funds being made available by the Settlement. The $40,000,000 fund is only a

  portion of the relief established by the Settlement—the Settlement also provides

  other benefits, changes to Costa business practices, and injunctive relief.18



  17 It does not matter that FDUTPA and the MMWA contain a statutory fee shifting provision. E.g.,
  Diaz v. Hillsborough Cty. Hosp. Auth., No. 8:90-CV-120-T-25B, 2000 WL 1682918, at *7 (M.D.
  Fla. Aug. 7, 2000) (“Although this case began as a statutory fee shifting case, the lump sum
  settlement agreement converted the litigation to a common fund case.”). The Court may award
  fees that are “authorized by law or the parties’ agreement.” Fed. R. Civ. P. 23(h).
  18 When the parties negotiated this Settlement, Costa charged customers purchasing merchandise

  from Costa’s website a shipping-and-handling fee. On March 16, 2021, Costa advised Class
  Counsel that it is currently covering shipping and handling charges for online purchases. The
  Settlement, nevertheless, ensures that class members will be guaranteed free shipping and
  handling on purchases using their Product Vouchers, even if Costa changes its policy again or
  excludes certain purchases. Miorelli suggests that the value of the no-sales-tax provision is zero,
  but that is not correct. (Doc. 117, Miorelli Obj. at 23). The Product Vouchers are actually more
  valuable than gift cards. While a customer using a gift card would still have to cover the sales tax
  on items purchased using a portion of the gift card, customers using Product Vouchers will not be
  charged sales tax at all. Instead, when a class member uses a Product Voucher, Costa
  automatically remits the applicable tax, and the class member is not charged and does not have
  to use a portion of the Product Voucher to cover the tax. See Declaration of Emilia Flamini ¶ 3,
  attached hereto as Exhibit 12.
                                                  17
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 19 of 36 PageID 15536




         In the Eleventh Circuit, a “common fund” need not be “funded” and can be

  a “claims made” fund. Poertner v. Gillette Co., 618 F. App’x 624, 629 n.2 (11th Cir.

  2015) (“no principled reason” counsels against extending Camden I’s percentage-

  of-the-recovery rule to claims-made settlements). And the possible reversionary

  nature of a fund does not make it any less of a “common fund.” Waters v. Int’l

  Precious Metals Corp., 190 F.3d 1291, 1295–96 (11th Cir. 1999) (in reversionary

  fund case, affirming $13.3 million attorneys’ fee award and $2,400,204 in

  expenses from a $40 million common fund). In fact, the Eleventh Circuit’s seminal

  decision in Camden I involved a reversionary fund, Camden I Condo. Ass’n, Inc. v.

  Dunkle, 946 F.2d 768, 770 (11th Cir. 1991) (“The settlement provided any

  unclaimed funds would revert to the County.”), and the Court held that class

  counsel’s fee must be based on a percentage of the total benefits established for

  the class, not the ultimate payouts, id.19

         Objector Davis employs a sleight of hand to (falsely) argue that the parties

  agreed the Settlement is not a “common fund” settlement. (See Doc. 112 at 5, 19,

  24 n.21). He contends that the Settlement says “the equitable common-fund

  doctrine does not apply to this Settlement” so the Court cannot award fees based

  on the “common fund” doctrine. (Id.). But that argument is a ruse. The full

  sentence Davis should have quoted to the Court provides: “the Parties hereto agree


  19  The parties are working cooperatively to ensure that any remaining funds in the Settlement
  Fund get allocated to increase the Product Voucher amounts for class members. For that reason,
  the “estimated minimum value” of the Product Vouchers has increased based on claims data. This
  Settlement is not properly characterized as “reversionary” because Class Members will receive the
  full benefit of the Settlement Fund, including any reduction in Class Counsel’s fee award.
                                                 18
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 20 of 36 PageID 15537




  that a Class Member who objects to the Settlement shall not be entitled to

  recovery of all or any portion of Attorneys’ Fees, Costs and Expenses, and that the

  equitable common-fund doctrine does not apply to this Settlement.” (Agreement,

  Doc. 98-1 § IX(C) (emphasis added). This provision is supposed to act as a

  limitation on professional objectors’ (like Davis) rights to recover fees for asserting

  meritless objections designed to delay distribution of benefits to class members.

  For that reason, the sentence is included in the section of the Settlement titled

  “Objections to Settlement” (a fact Davis also does not mention). (Agreement, Doc.

  98-1 § IX). Davis’ reading of this provision does not even garner support among

  the other Objectors, who recognize the provision merely purports to prevent

  professional objectors from recovering their fees. (See Doc. 115, Valls. Obj. at 11)

  (“In section IX.C., the parties purport to agree that class members who provide

  benefits to the settlement through an objection are nevertheless [not entitled to

  attorneys’ fees].”). The Settlement in this case is a “common fund” settlement such

  that the “common fund” doctrine applies. Davis’ argument is simply misdirection.

        The Objectors also argue that even if CAFA does not apply, Class Counsel

  should be limited to a lodestar fee award. (E.g., Doc. 112, Davis Obj. at 17). But,

  that’s not the law in this Circuit. Camden I is clear that attorneys’ fees must be

  based on a percentage of the fund established for the benefit of the class. Camden

  I, 946 F.2d at 774 (11th Cir. 1991) (“Henceforth in this circuit, attorneys’ fees

  awarded from a common fund shall be based upon a reasonable percentage of the

  fund established for the benefit of the class.” (emphasis added)). This Court has

                                            19
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 21 of 36 PageID 15538




  repeatedly followed Camden I and, in common fund cases, awarded fees based on

  a percentage of the benefits being made available to the class. See, e.g., Finerman

  v. Marriott Ownership Resorts, Inc., No. 3:14-cv-01154-TJC-MCR (Corrigan, J.);

  In re Rayonier Inc. Sec. Litig., No. 3:14-cv-01395-TJC-JBT (Corrigan, J.) (30%);

  Black v. Winn-Dixie Stores, Inc., No. 3:09-cv-00502-TJC-JRK, 2011 WL 13257526

  (Corrigan, J.). Objectors and their counsel know that Camden I is the law in this

  Circuit because their same arguments have been rejected in the past. Johnson v.

  NPAS Sols., LLC, 975 F.3d 1244, 1262 n.14 (11th Cir. 2020) (stating, in a case where

  Objector Davis and his counsel represented Dickenson, that Camden I remains

  good law); Poertner, 618 F. App’x, at 628; see also Waters, 190 F.3d at 1295

  (“Contrary to defendants’ assertion, no case has held that a district court must

  consider only the actual payout in determining attorneys’ fees.”). Instead, fees

  must be based on a percentage of all of the benefits being made available to the

  class—monetary and non-monetary benefits. See Camden I, 946 F.2d at 774;

  Poertner, 618 F. App’x at 628 (affirming lower court opinion that the settlement’s

  allocation of benefits was fair based upon the value of the nonmonetary relief and

  cy pres award); Waters, 190 F.3d at 1295–96.20




  20Objectors argue the injunctive relief secured here is worthless because Costa has already
  changed its business practices. But Objectors ignore that changes to a defendant’s business
  practices as a result of the litigation constitute a benefit to the class. See Faught v. Am. Home
  Shield Corp., 668 F.3d 1233, 1243–44 (11th Cir. 2011) (portion of fee properly allocated to
  compensation for “non-monetary benefits [counsel] achieved for the class — like company-wide
  policy changes...”). The injunctive relief will ensure Costa does not simply revert to its prior
  business practices after the litigation has concluded. The injunctive relief benefits consumers
  nationwide, including class members.
                                                 20
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 22 of 36 PageID 15539




   V.   Whether CAFA applies is irrelevant; the Court can and should
        alternatively award Class Counsel a lodestar fee with an
        appropriate multiplier.

        At the initial preliminary approval hearing, this Court asked Class Counsel

  whether 28 U.S.C. § 1712 applied to this Settlement. Counsel answered that it did

  not, but that attorneys’ fees and costs sought to be recovered under the Settlement

  were reasonable under either standard (i.e., as a percentage of the fund or a

  lodestar with a multiplier). After briefing, this Court correctly ruled that this was

  not a “coupon” settlement subject to 28 U.S.C. § 1712. Nevertheless, in its Motion

  for Attorneys’ Fees, counsel provided the Court with lodestar cross-check data in

  support of its “percent of the fund” request. See (Doc. 109 at 13 n.7).

  Contemporaneously with this Response, Class Counsel now provides this Court

  with its detailed time records reflecting fees and costs incurred in the three

  consolidated cases, as well as an expert declaration regarding the reasonableness

  of the fees incurred and appropriateness of a multiplier. Class Counsel does so

  because they seek to avoid the substantial delay of benefits to class members

  threatened by the serial and professional objectors in this case who—consistent

  with their past practices—seek to gain personally by hijacking and delaying this

  Settlement. Accordingly, Class Counsel requests an order awarding Class Counsel

  fees: (i) as a percentage of the common fund; and (ii) alternatively, even if CAFA

  were to apply, as a lodestar with a multiplier, which is fully consistent with CAFA

  and Eleventh Circuit precedent. In fact, district courts in the Eleventh Circuit have

  taken this precise approach. Parsons v. Brighthouse Networks, LLC, No. 2:09-

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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 23 of 36 PageID 15540




  CV-267-AKK, 2015 WL 13629647, at *7 (N.D. Ala. Feb. 5, 2015) (finding that a

  settlement providing for account credits was not a “coupon” settlement, awarding

  fees under Camden I, but alternatively ruling that, even if the settlement was

  deemed a “coupon” settlement, the Court would award the same fees under the

  lodestar-with-multiplier approach). Class Counsel respectfully submits that the

  attorneys’ fees awarded should be the same under either approach.

         Objectors misrepresent the law and argue that, if CAFA applies, this Court

  must base its attorneys’ fee award on the value of the Product Vouchers

  redeemed.21 (Doc. 117, Miorelli Obj. at 35–36); (Doc. 112, Davis Obj. at 4, 12); (Doc.

  115, Valls Obj. at 19). That is not the law.22 CAFA’s plain language provides two

  separate methods to calculate attorneys’ fees in a coupon settlement. Only if

  plaintiffs opt for recovery of attorneys' fees calculated as a percentage of the

  coupons should the attorneys' fee award be based on the coupons redeemed. 28

  U.S.C. § 1712(a). However, that option is inapplicable here insofar as Class Counsel

  is not seeking an attorneys' fees award based upon a percentage of the value of the

  coupons. Instead, if the Court were to determine this to be a coupon settlement,

  Class Counsel seeks an attorneys' fee award based on a lodestar calculation:

         If a proposed settlement in a class action provides for a recovery of
         coupons to class members, and a portion of the recovery of the

  21 Objectors compound their error by using redemption rates in class  actions with little to no direct
  mail notice. (Doc. 117, Miorelli Obj. at 20). In this case, there is actual notice to over a million
  class members. Over 1.6 million Product Vouchers are being automatically distributed to class
  members without the necessity for a claim.
  22 This is Objectors’ classic “squeeze” play. They advance this flawed argument in an effort to

  leverage a settlement from counsel for fear that fees will not be awarded for years—not until after
  the Court has received information regarding the number of vouchers actually redeemed by class
  members. This is precisely why Congress allows for the lodestar option, discussed herein.
                                                   22
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 24 of 36 PageID 15541




        coupons is not used to determine the attorney’s fee to be paid to class
        counsel, any attorney’s fee award shall be based upon the amount of
        time class counsel reasonably expended working on the action.

  28 U.S.C. § 1712(b)(1). As courts around the country have concluded, section

  1712(b) allows district courts to use the lodestar method to award attorneys’ fees

  in coupon settlements. See In re Sw. Airlines Voucher Litig., 799 F.3d 701, 710

  (7th Cir. 2015) (“[Section] 1712 permits a district court to use the lodestar method

  to calculate attorney fees to compensate class counsel for the coupon relief

  obtained for the class.”); accord Galloway v. Kan. City Landsmen, LLC, 833 F.3d

  969, 975 (8th Cir. 2016) (same); Blessing v. Sirius XM Radio Inc., 507 F. App’x 1,

  5 (2d Cir. 2012) (affirming the district court’s award based on the lodestar

  method). Objectors ignore the clear text of Section 1712(b), an abundance of case

  law (including from this Circuit), and CAFA’s legislative history:

        [T]he proponents of a class settlement involving coupons may decline
        to propose that attorney’s fees be based on the value of the coupon-
        based relief provided by the settlement. Instead, the settlement
        proponents may propose that counsel fees be based upon the amount
        of time class counsel reasonably expended working on the action.
        Section 1712(b) confirms the appropriateness of determining
        attorneys’ fees on this basis in connection with a settlement based in
        part on coupon relief.

  See S. Rep. 109-14, at 30 (2005), as reprinted in 2005 U.S.C.C.A.N. 3, 30

  (emphasis added); see also Perez v. Asurion Corp., No. 06-CIV-20734, 2007 WL

  2591180, at *2 (S.D. Fla. Aug. 8, 2007) (“As CAFA’s legislative history shows,

  [Section 1712(b)] allows a district court to use the lodestar method to calculate a

  reasonable attorneys’ fee award in cases involving a ‘coupons’ . . . .”).



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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 25 of 36 PageID 15542




        The lodestar method has been widely adopted by district courts addressing

  coupon settlements or setting forth alternative bases for fee awards in the event

  that CAFA was deemed to apply, including district courts in the Eleventh Circuit.

  For instance, in Parsons, the court held that “account credits” akin to the product

  vouchers here did not constitute a coupon settlement under CAFA, but it awarded

  attorneys’ fees based upon a lodestar calculation in the alternative. See 2015 WL

  13629647, at *7. First, the Parsons court held that, because CAFA did not apply, it

  would award attorneys’ fees based on a percentage of the recovery, as required by

  Camden I. Id. But the Parsons court also held that, even if CAFA was deemed to

  apply, the court was permitted to award fees based on a lodestar calculation, with

  a multiplier, and the same amount of attorneys’ fees were therefore awarded by the

  court under that approach. Id. at *15; see also Perez, 2007 WL 2591180, at *2

  (commenting that phone cards and vouchers supplied in the case were not

  “coupons” in that they did not require the class to purchase anything, but holding

  that CAFA gave the court the discretion to award fees using the lodestar method

  with a multiplier). Even if this settlement was a “coupon settlement” (it is not), the

  Court could and should award fees based on a lodestar with a multiplier.

        Objectors next argue that, if fees are based on a lodestar calculation, Class

  Counsel is not permitted to receive a multiplier, citing the Supreme Court’s

  decisions in Dague and Perdue. (Doc. 115, Valls Obj. at 114); (Doc. 117, Miorelli

  Obj. at 54); (Doc. 112, Davis Obj. at 6). Again, that is not the law. The Supreme

  Court’s decisions in Dague and Perdue—cases addressing fee-shifting statutes—

                                           24
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 26 of 36 PageID 15543




  say nothing about an award of attorneys’ fees from a common fund settlement.

  What Objectors fail to mention is that the Eleventh Circuit has already rejected

  their argument and explicitly recognized that Perdue and Dague do not apply to

  common-fund cases like this one:

         There is no question that the Supreme Court precedents stretching
         from Hensley to Perdue are specific to fee-shifting statutes. …. Thus,
         these precedents are not binding outside of the statutory context.

         For this reason, we have held that the Supreme Court precedent
         requiring the use of the lodestar method in statutory fee-shifting cases
         does not apply to common-fund cases.

  In re Home Depot Inc., 931 F.3d 1065, 1084–85 (11th Cir. 2019); see Muransky v.

  Godiva Chocolatier, Inc., 922 F.3d 1175, 1195 (11th Cir. 2019) (“Perdue addresses

  fee-shifting statutes and says nothing about the award of attorney’s fees from a

  common fund.”), vacated on other grounds, 979 F.3d 917 (11th Cir. 2020)

  (vacating on grounds that Plaintiff lacked standing to bring suit).23 And, since

  Perdue and Dague are about interpreting statutory language, they are particularly

  not applicable here, as CAFA’s plain language explicitly permits the Court to award

  a multiplier: “Nothing in this subsection shall be construed to prohibit application

  of a lodestar with a multiplier method of determining attorney’s fees.” 28 U.S.C.

  § 1712(b)(2) (emphasis added); see also Parsons, 2015 WL 13629647, at *15 (using

  a multiplier and stating, “[t]he court finds that the lodestar/multiplier method



  23The Eleventh Circuit is not alone. Florin v. Nationsbank of Ga., N.A., 34 F.3d 560, 564–65 (7th
  Cir. 1994) (“[W]e conclude that the holding in Dague . . . forbidding risk multiples in statutory
  fee-shifting cases . . . has no application to common fund cases.”); see also In re Wash. Pub. Power
  Supply Sys. Sec. Litig., 19 F.3d 1291, 1299 (9th Cir. 1994) (“Dague’s rationale for barring risk
  multipliers in statutory fee cases does not operate to bar risk multipliers in common fund cases.”).
                                                  25
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 27 of 36 PageID 15544




  provides an independent justification for the fee requested here, irrespective of the

  valuation of the Settlement.”); see also Perez, 2007 WL 2591180, at *2 (“CAFA

  gives the Court discretion to award fees using the lodestar method . . . . [and]

  provides that the Court may award a multiplier of the lodestar to enhance the fee

  award under the appropriate circumstances.”). Under the plain text of CAFA and

  Eleventh Circuit precedent, even if the Court finds that this is a coupon settlement,

  it should award fees based on a lodestar calculation with an appropriate multiplier.

        Objectors next argue that, “to the extent the case involves Florida law

  claims,” the “Erie doctrine requires the Court to apply Florida law on attorneys’

  fees.” (Doc. 112, Davis Obj. at 16). But that is not the law either. “Eleventh Circuit

  attorneys’ fee law governs this request, not the law of Florida.” In re Checking

  Account Overdraft Litig., 830 F. Supp. 2d 1330, 1362 n.32 (S.D. Fla. 2011);

  Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1200 (S.D. Fla. 2006)

  (“The district court presiding over a diversity-based class action pursuant to

  Fed.R.Civ.P. 23 has equitable power to apply federal common law in determining

  fee awards irrespective of state law.”).

        Objectors only make this argument so they can then misrepresent the range

  of possible multipliers. They argue that Florida precedents “certainly do not

  permit a multiplier approaching five such as [sic] Class Counsel seek.” (Doc. 112,

  Davis Obj. at 18). But, Florida precedents certainly do. The Florida Supreme Court

  has held that, in class actions in Florida state court, Class Counsel may be awarded

  a multiplier of five times the lodestar. Kuhnlein v. Dep’t of Revenue, 662 So. 2d

                                             26
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 28 of 36 PageID 15545




  309, 315 (Fla. 1995) (holding that a multiplier of five times is permitted in class

  actions in Florida). So have Florida District Courts of Appeal. Ramos v. Philip

  Morris Cos., Inc., 743 So. 2d 24, 32 (Fla. 3d DCA 1999) (applying five times

  multiplier based upon Kuhnlein.). And, Parsons makes clear that the average

  multiplier awarded in complex cases such as this one is almost four. See 2015 WL

  13629647, at *15 (collecting cases and other authorities including a class action

  treatise indicating that “the average multiplier found to be reasonable was 3.89”).

  This case is far from average.

  VI.    Class Counsel’s lodestar analysis:

         District courts have “great latitude” in setting fee awards in class action

  cases. In re Home Depot, 931 F.3d at 1078. It is also proper to award attorney’s

  fees based solely on affidavits in the record. Norman v. Hous. Auth. of City of

  Montgomery, 836 F.2d 1292, 1303 (11th Cir. 1988).

         The first step in determining the amount to award under the “lodestar”

  approach is to multiply the number of hours reasonably worked by a lawyer by the

  lawyer’s reasonable hourly rate. Duckworth v. Whisenant, 97 F.3d 1393, 1396 (11th

  Cir. 1996). The district court also may consider the factors identified in Johnson

  v. Georgia Highway Express, Inc., 488 F.2d 714, 717–719 (5th Cir. 1974), when

  deciding to adjust the fee upward or downward, although many of these factors are

  often subsumed within the initial lodestar calculation.24


  24The twelve Johnson factors are: (1) the time and labor required; (2) the novelty and difficulty of
  the questions presented; (3) the skill requisite to perform the legal services properly; (4) the
  preclusion of other employment by the attorney due to the acceptance of the case; (5) the
                                                  27
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 29 of 36 PageID 15546




         A.      Class Counsel charged reasonable hourly rates.

         A reasonable hourly rate is defined as “the prevailing market rate in the

  relevant legal community for similar services by lawyers of reasonably comparable

  skills, experience, and reputation.” Norman, 836 F.2d at 1299. Evidence of rates

  may be adduced through direct evidence of charges by lawyers under similar

  circumstances or by opinion evidence. Id. A court is “itself an expert on the

  question [of attorney’s fees] and may consider its own knowledge and experience

  concerning reasonable and proper fees and may form an independent judgment

  either with or without the aid of witnesses as to value.” Norman, 836 F.2d at 1303.

  Here, to aid the Court in this alternative analysis, Class Counsel has filed the

  declaration of Barry Richard. (Doc. 132.) Mr. Richard opines that the rates charged

  by Class Counsel are prevailing market rates for similar services by lawyers of

  reasonably comparable skill, experience, and reputation.25

         B.      Class Counsel expended a reasonable number of hours.

         The Haney Action was first filed in July 2017, more than three and a half

  years ago, in the Fourth Judicial Circuit Court, Duval County. Costa aggressively

  defended the case. Since then and through the date of this Response, Class Counsel


  customary fee; (6) whether the fee is fixed or contingent; (7) time limitations imposed by the client
  or the circumstances; (8) the amount involved and the results obtained; (9) the experience,
  reputation, and ability of the attorneys; (10) the undesirability of the case; (11) the nature and
  length of the professional relationship with the client; and (12) awards in similar cases. Johnson
  v. Ga. Highway Express, Inc., 488 F.2d 714, 717–19 (5th Cir. 1974).
  25 Although there is legal support for the use of current rates (as opposed to historical rates) in

  order to compensate counsel for inflation and delay in receipt of payment, Class Counsel takes the
  more conservative approach and applies the hourly rate that the Firm regularly charged its clients
  for each attorneys’ services when the time was incurred. See Behrens v. Wometco Enters., Inc.,
  118 F.R.D. 534, 547 (S.D. Fla. 1988), aff’d, 899 F.2d 21 (11th Cir. 1990).
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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 30 of 36 PageID 15547




  has incurred more than 6,500 hours on the combined matters comprising the

  Litigation. (See Hargitai 2d Suppl. Decl. ¶ 9 (Doc. 131).) The number of hours

  incurred by Class Counsel is significantly less than the 15,111 hours that Costa’s

  counsel expended in defending the Smith, Haney, and Reed Actions.26

         Class Counsel prosecuted the litigation efficiently. However, “[i]n the final

  analysis, exclusions for excessive or unnecessary work on given tasks must be left

  to the discretion of the district court.” Norman, 836 F.2d at 1301. While redundant,

  duplicative work should be deducted, there is nothing inherently unreasonable

  about a client having multiple attorneys. Id. They may all be compensated if they

  are being compensated for the distinct contribution of each lawyer. Norman, 836

  F.2d 1301–02; Dowdell v. City of Apopka, Fla., 698 F.2d 1181, 1188 (11th Cir. 1983)

  (“All attorneys who contribute their services to a case may be awarded reasonable

  attorneys’ fees.”); Johnson v. Univ. Coll. of Univ. of Ala. in Birmingham, 706 F.2d

  1205, 1208 (11th Cir. 1983) (“The use in involved litigation of a team of attorneys

  who divide up the work is common today for both plaintiff and defense work. While

  Johnson recognizes the possibility of unnecessary duplication for which double

  compensation should not be granted . . . a reduction is warranted only if the

  attorneys are unreasonably doing the same work.” (internal citations omitted)

  (emphasis in original)), cert. denied, 464 U.S. 994 (1983).



  26(Doc. 131 ¶ 10.) Defense counsel have expended over 15,000 hours of time (not counting any of
  the time expended on the Burden matter that was pending in Texas). This is more than double all
  of the hours that Class Counsel expended in the Litigation. Importantly, defense counsel did not
  perform work on a contingency basis as did Class Counsel. See Perez, 2007 WL 2591180, at *3.
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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 31 of 36 PageID 15548




        A detailed overview of the extensive effort undertaken by Class Counsel to

  prosecute the Litigation is provided in the Declaration of Peter Hargitai in Support

  of Plaintiffs’ Unopposed Motion for Preliminary Approval of Class Action

  Settlement (Doc. 109-2 at 3–15), and summarized in the Unopposed Motion for

  Attorneys’ Fees and Expenses (Doc. 109 at 3–8). As reflected in the timesheets, the

  attorneys who worked on the Litigation carried out their duties in a highly

  productive manner, understanding the risk that the firm may never be paid for

  these services. (Doc. 132, Richard Decl. at 10-11.) For example, rather than incur

  the time and expense of Firm lawyers reviewing, analyzing, and coding Costa’s

  voluminous document productions, the Firm hired outside document reviewers

  (third year law school students) at a rate of $31 per hour to review Costa’s

  productions in the most economical manner possible. (Id., Richard Decl. at 8.) The

  expenses associated with this review were billed as a cost to the Firm, and are not

  reflected as Firm services that would otherwise be billed to the client. Id. Rather

  than re-depose, in the Smith Action, all of the deponents from the Haney Action,

  Class Counsel filed a motion to deem all of the prior depositions from the Haney

  Action admissible in the Smith Action. See (Motion, Doc. 22). Costa ultimately

  stipulated to the relief Class Counsel sought. (Stipulation, Doc. 35). And, Class

  Counsel obtained stipulations that all of the documents Costa produced in the

  Haney Action would be deemed produced in Reed and Smith. (CMR, Doc. 5 at 5).

        An additional factor considered in determining the reasonable number of

  hours expended in the Litigation is the novelty and complexity of the cases. See In

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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 32 of 36 PageID 15549




  re Home Depot, 931 F.3d 1065, 1083 (11th Cir. 2019) (“[T]he novelty and

  complexity of the issues are reflected in the number of hours spent on the case, as

  complicated litigation will demand more time”). With respect to this factor, Judge

  Scott explains that the Litigation is not a “copy-cat” suit, and the “cases filed by

  Plaintiffs are unique and the first of their kind against Costa.” (Doc. 109-1, Scott

  Decl. ¶ 51); (Doc. 132, Richard Decl. at 10-11). “The litigation was both factually

  and legally complex and involved novel issues across three separate putative class

  actions.” (Doc. 109-1, Scott Decl. ¶ 56).

        In sum, Class Counsel reasonably expended more than 6,500 hours on the

  Litigation. (Doc. 132, Richard Decl. at 10). The Second Supplemental Declaration

  of Mr. Hargitai contains: (i) timesheets listing the hours reasonably expended by

  each attorney or paralegal in each Action and the reasonable hourly rate charged

  by that attorney or paralegal (i.e., the lodestar); (ii) a list of costs and expenses

  reasonably incurred in each case; and (iii) a summary of hours expended in each

  phase of the Haney, Smith, and Reed Actions.

        C.     Class Counsel is entitled to a multiple of the lodestar.

        The district court must determine whether the fee arrangement was

  contingent, the sixth Johnson factor, and enhance the lodestar when it is shown

  that an enhancement is necessary to obtain competent counsel. See Bowen v.

  SouthTrust Bank of Ala., 760 F. Supp. 889, 898-99 (M.D. Ala. 1991) (citing

  Pennsylvania v. Del. Valley Citizens Council for Clean Air, 483 U.S. 711, 734

  (1987)). The evidence on this point is indisputable. Mr. Richard confirms that he

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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 33 of 36 PageID 15550




  cannot think of any reputable firm willing to risk non-payment on a multi-year

  class action representation alleging complex, nuanced issues of law against a

  multi-billion dollar company with highly qualified opposing counsel on a

  contingency fee basis (let alone three of those actions) without the prospect of a

  significant multiplier if successful. (See Doc. 132. Richard Decl. at 11) (“A small

  percentage of firms in Florida have the financial wherewithal to carry out a class

  action litigation of this magnitude on a contingent basis. I am confident that no

  firm with the experience and ability to handle the case would have done so without

  the prospect of a significant lodestar multiplier, or percentage of the fund award,

  if successful.”); see also Behrens v. Wometco Enters., Inc., 118 F.R.D. 534, 548

  (S.D. Fla. 998) (“If this ‘bonus’ methodology did not exist, very few lawyers could

  take on the representation of a class client given the investment of substantial time,

  effort, and money, especially in light of the risk of recovering nothing.”), aff’d, 899

  F.2d 21 (11th Cir. 1990).

        Other Circuits agree that a multiplier should be applied in this context. See,

  e.g., Florin v. Nationsbank of Georgia, N.A., 34 F.3d 560, 565 (7th Cir. 1994)

  (“Having determined that risk multipliers remain available in common fund cases

  after Dague, we further note that we have held, in a pre-Dague case, that a risk

  multiplier is not merely available in a common fund case but mandated, if the court

  finds that counsel ‘had no sure source of compensation for their services.’”

  (emphasis added)).



                                            32
Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 34 of 36 PageID 15551




        “In this circuit, where there is a delay the court should take into account the

  time value of money and the effects of inflation and generally award compensation

  at current rates rather than at historic rates.” Norman, 836 F. 2d 1302. Although

  Class Counsel has not pursued a lodestar calculation using current hourly rates,

  delay in payment should be considered in the Court’s analysis of the appropriate

  multiplier. See Johnson v. Univ. Coll. of Univ. of Ala. in Birmingham, 706 F.2d

  1205, 1208 (11th Cir. 1983) (noting that when there is a delay, “district courts

  should take into account inflation and interest, perhaps by adjusting the

  contingency factor to reflect delay, not just contingency.” (emphasis added)).

        In his analysis of the twelve Johnson factors applicable to the Litigation,

  Judge Scott provides additional support for application of a multiplier. In terms

  of the results obtained by this Settlement, Judge Scott opines that “[t]he

  substantial benefits available to class members under the settlement greatly

  outweigh the risks of continued litigation.” (Doc. 109-1, Scott Decl. ¶ 78). “In

  addition to the substantial monetary benefits available under the settlement, Costa

  is prohibited from engaging in the conduct that gave rise to the Litigation, which

  benefits all consumers of Costa sunglasses, in addition to class members. (Id.

  ¶ 80). In sum, Class Counsel obtained excellent relief for the Class. (Id. ¶ 81).

        In complex cases such as this one, courts routinely approve multipliers of

  three or more. See Parsons, 2015 WL 13629647, at *15 (citing Behrens, 118 F.R.D.

  at 549 (“In cases as complex as this, with risks of establishing liability as great as

  in this case, and with legal representation as fine as it was here, a lodestar multiple

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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 35 of 36 PageID 15552




  of three appears to be average.”) (collecting cases with multipliers ranging from a

  low of 2.26 to a high of 4.5)); Stuart J. Logan et al., Attorney Fee Awards In

  Common Fund Class Actions, 24 Class Action Reports 167, 197 (Mar.–Apr. 2003)

  (average multiplier found to be reasonable was 3.89); Weiss v. Mercedes-Benz of

  N. Am.., Inc., 899 F. Supp. 1297 (D.N.J. 1995) (multiple of 9.3 times lodestar); In

  re RJR Nabisco, Inc. Sec. Litig., No. 88 Civ. 7905, 1992 WL 210138, at *5 (S.D.N.Y.

  Aug. 24, 1992) (multiple of 6 times lodestar); Cosgrove v. Sullivan, 759 F. Supp.

  166 (S.D.N.Y. 1991) (multiple of 8.74); Glendora Comm. Redevelopment Agency

  v. Demeter, 155 Cal. App. 3d 465 (Cal. Ct. App. 1984) (multiple of 12 times

  lodestar). Under Florida law, a similar multiple would be available:

               [W]e set the maximum multiplier available in this
               common-fund category of cases at 5. By allowing for this
               increased maximum multiplier, we recognize that it is
               appropriate in common-fund cases. . . Furthermore, a
               multiplier which increases fees to five times the
               accepted hourly rate is sufficient to alleviate the
               contingency risk factor involved and attract high
               level counsel to common fund cases while
               producing a fee which remains within the
               bounds of reasonableness.

  Kuhnlein v. Dep’t of Revenue, 662 So. 2d 309, 315 (Fla. 1995) (emphasis added).

  Class Counsel respectfully suggests that this is not an average case—it involves

  three large class actions in multiple fora, with non-payment over the course of four

  years—and that a multiplier of at least 4.25 the lodestar is justified under the

  circumstances.    (Doc. 132, Richard Decl. at 11) (“It is my opinion that the

  extraordinary outlay of expenses and investment of attorney time, and delay in

  payment for nearly four years, justifies a lodestar multiplier on the high end of the
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Case 3:18-cv-01011-TJC-JRK Document 134 Filed 03/19/21 Page 36 of 36 PageID 15553




  spectrum.”).   Class Counsel respectfully requests that the Court overrule the

  objections, and award Class Counsel a fee award that is justified and appropriate

  under both the Camden I approach and the lodestar with multiplier approach.

  Dated: March 19, 2021

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                                         35
